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                                                8
                                                    Attorneys for Plaintiff                 Attorneys for Defendants
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                                               11
                                                                          UNITED STATES DISTRICT COURT
                                               12
                                                          CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
            350 University Avenue, Suite 200




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                                                  HIGHMARK DIGITAL, INC., a                 CASE NO. 2:18-cv-06105-GW-ASx
                                               15 California corporation,
                                                                                            JOINT STATEMENT OF CASE
                                               16
                                                                 Plaintiff,
                                               17   v.                                      Hon. George H. Wu
                                               18
                                                                                            Magistrate Judge Alka Sagar
                                                    CASABLANCA DESIGN CENTERS,              Courtroom 9D
                                               19   INC., a California corporation; FOUR
                                               20   SEASONS WINDOWS, INC., a                Pre-Trial Conf.: September 9, 2021
                                                    California corporation; INTERIOR        Trial: September 21, 2021
                                               21
                                                    DOOR & CLOSET COMPANY, an
                                               22   unincorporated California company;
                                               23
                                                    ONE DAY DOORS AND CLOSETS,
                                                    INC., a California corporation; DAVID
                                               24   WINTER, an individual; and ONE DAY
                                               25   ENTERPRISES, LLC, a Delaware
                                                    company,
                                               26                Defendants.
                                               27   ________________________________/
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                                                                              JOINT STATEMENT OF CASE
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                                                1         Plaintiff Highmark Digital, Inc. (“HighMark”) is a California Corporation that
                                                2   operates in the interior door replacement industry. Defendant Casablanca Design
                                                3
                                                    Centers, Inc. (“Casablanca”) operates in the interior door replacement industry in
                                                4
                                                5   Southern California. One Day Enterprises, LLC, does business under the name of
                                                6
                                                    One Day Doors & Closets, and operates in the interior door replacement industry.
                                                7
                                                8   Defendant Four Seasons Windows, Inc. (“Four Seasons”) is a company that used to
                                                9
                                                    operate in the interior door replacement industry and ceased operating in 2011.
                                               10
                                               11
                                                    Defendant One Day Doors and Closets, Inc. is related to One Day Enterprises, LLC

                                               12   because it does business as One Day Doors & Closets. Defendant David Winter is a
            350 University Avenue, Suite 200




                                               13
                                                    former employee of Highmark who works for One Day Enterprises, LLC.
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                                               15         HighMark asserts it is the owner of software known as One-Cut. Highmark
                                               16
                                                    contends One-Cut is software that converts measurement data of existing door
                                               17
                                               18   frames into custom door-cutting instructions (known as HOP files) readable by a
                                               19   specific type of woodcutting machine, known as a Holzher CNC machine.
                                               20
                                                    HighMark claims that the source code for its One-Cut software, as well as the
                                               21
                                               22   resulting HOP files, are HighMark’s trade secret.
                                               23
                                                          HighMark claims that the Defendants have improperly taken, or
                                               24
                                               25   misappropriated, its One-Cut software in violation of certain contracts between
                                               26
                                                    HighMark and certain Defendants and in violation of the Defend Trade Secret Act
                                               27
                                               28
                                                    and the California Uniform Trade Secrets Act.

                                                          Defendants deny that they have accessed, taken or used the One-Cut software
                                                                                        -2-
                                                                             JOINT STATEMENT OF CASE
                                     Case 2:18-cv-06105-GW-AS Document 248 Filed 09/07/21 Page 3 of 5 Page ID #:8306



                                                1   of HighMark in any unlawful manner. Defendants claim that in or around October
                                                2   2011, Casablanca licensed software from a company called Prodim to convert
                                                3
                                                    measurement data for cutting on a Holzher CNC machine. Defendants allege they
                                                4
                                                5   have been using the Prodim software since that time. Defendants deny that HOP
                                                6
                                                    files are a trade secret.
                                                7
                                                8          HighMark also claims that David Winter unlawfully destroyed data and files
                                                9
                                                    on a HighMark corporate laptop that he possessed for over a week after he resigned
                                               10
                                               11
                                                    from HighMark, in violation of applicable state penal code provisions. David Winter

                                               12   denies the allegation claiming he backed up all Highmark data and files on a storage
            350 University Avenue, Suite 200




                                               13
                                                    device that he returned to the company.
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                                               15          HighMark believes it has been harmed by the alleged acts of the Defendants
                                               16
                                                    and claims it is due damages from the Defendants due to their alleged conduct.
                                               17
                                               18   Defendants deny all wrongdoing and any related claims for damages.
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                                                                                JOINT STATEMENT OF CASE
                                     Case 2:18-cv-06105-GW-AS Document 248 Filed 09/07/21 Page 4 of 5 Page ID #:8307



                                                1   SO STIPULATED:
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                                                3                                Respectfully submitted,
                                                4
                                                                                 PORTER SCOTT
                                                5                                A PROFESSIONAL CORPORATION
                                                6
                                                7   Dated: September 7, 2021     By: /s/ Martin N. Jensen
                                                                                  Martin N. Jensen
                                                8
                                                                                  Joceline M. Herman
                                                9
                                                                                   Attorneys for Defendants,
                                               10                                  CASABLANCA DESIGN CENTERS, INC.,
                                               11                                  FOUR SEASONS WINDOWS, INC.,
                                                                                   INTERIOR DOOR & CLOSET COMPANY,
                                               12                                  ONE DAY DOORS AND CLOSETS, INC.,
                                                                                   DAVID WINTER, AND ONE DAY
            350 University Avenue, Suite 200




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                                                                                   ENTERPRISES, LLC
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                                               15
                                                                               KNOBBE, MARTENS, OLSON & BEAR, LLP
                                               16
                                               17
                                               18   Dated: September 7, 2021    By: /s/ Thomas P. Krzeminski
                                                                                  Michael K. Friedland
                                               19                                 Thomas P. Krzeminski
                                               20
                                                                                  Attorneys for Plaintiff,
                                               21
                                                                                  HIGHMARK DIGITAL, INC.
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                                                                           JOINT STATEMENT OF CASE
                                     Case 2:18-cv-06105-GW-AS Document 248 Filed 09/07/21 Page 5 of 5 Page ID #:8308


                                                                                FILER’S ATTESTATION
                                                1
                                                2         Pursuant to Local Rule 5-4.3.4 regarding signatures, I hereby attest that
                                                3   concurrence in the filing of this document and related Declarations have been
                                                4   obtained from all signatories above.
                                                5
                                                6   Dated: September 7, 2021        By: /s/Thomas P. Krzeminski
                                                                                      Thomas P. Krzeminski
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                                                                             JOINT STATEMENT OF CASE
